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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                           §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                   1:23-CR-135-RP
                                                    §
SAINT JOVITE YOUNGBLOOD,                            §
                                                    §
                Defendant.                          §

                                               ORDER

        On May 3, 2024, Defendant Saint Jovite Youngblood (“Defendant”) filed a motion, through

counsel at the Federal Public Defender’s Office, for judgment of acquittal on Counts 1 and 5 of the

Second Superseding Indictment. (Dkt. 103). The Court initially extended the United States of

America’s response deadline to May 31, 2024. (Text Order dated May 9, 2024). On May 14, 2024,

Defendant filed a letter with the Court alleging ineffective assistance of counsel by his counsel at the

Federal Public Defender’s Office. (Dkt. 106). Defendant requested forms to file an appeal and a

motion for ineffective assistance of counsel. (Id.). He also requested that he be appointed new

counsel for sentencing. (Id.). On the same day, the Federal Public Defender filed an ex parte motion

to withdraw as court-appointed counsel for Defendant. (Dkt. 107). On May 21, 2024, the Court

referred the ex parte motion to withdraw to United States Magistrate Judge Mark Lane for

resolution. (Dkt. 109).

        On May 28, 2024, the Court issued an order staying the United States’s response deadline on

the motion for acquittal until after the ex parte motion to withdraw was resolved. (Order, Dkt. 110).

The Court stated that if the motion to withdraw was granted, the response deadline would be stayed

until after Defendant was appointed new counsel and the new counsel was given an opportunity to

determine whether to continue pursuing the motion for acquittal. (Id.).


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       On June 4, 2024, Judge Lane held a hearing on the ex parte motion to withdraw. (Minute

Entry, Dkt. 112). On the same day, Judge Lane issued an order granting the motion to withdraw and

withdrawing the Federal Public Defender’s Office as counsel of record in the case. (Dkt. 113). On

the same day, Judge Lane also issued an order appointing Jeff Senter as Defendant’s new counsel.

(Dkt. 114).

       Sentencing is currently scheduled in this case for July 26, 2024. (See Dkt. 104). To date,

Defendant’s new counsel has not indicated whether Defendant would like to continue to pursue the

motion for acquittal. To ensure the appropriate progression of this case as sentencing approaches,

IT IS ORDERED that, on or before July 18, 2024, Defendant shall file either (1) a notice

indicating whether he wishes to adopt or withdraw the motion for acquittal; or (2) a supplement to

the motion for acquittal. IT IS FURTHER ORDERED that Defendant shall file any additional

motions that the Court should consider before sentencing on or before this date.

       SIGNED on July 8, 2024.


                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE




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